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                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                                   OFFICE OF THE CLERK
                                    1100 East Main Street, Suite 501
                                    Richmond, Virginia 23219-3517
                                        www.ca4.uscourts.gov
             Nwamaka Anowi                                                 Telephone
                 Clerk                                                    804-916-2700


                                       August 28, 2024
                                ___________________________

                                   CJA COUNSEL NOTICE
                                ___________________________


        No. 24-4409,     US v. Samuel Sweeley
                         8:23-cr-00381-TDC-1

        TO: Alfred Guillaume III
            LAW OFFICES OF ALFRED GUILLAUME III
            6305 Ivy Lane
            Suite 700
            Greenbelt, MD 20770
            202-321-0549
            ag3law@gmail.com

          Thank you for accepting appointment on appeal in this case. This office will
          work with you in any way necessary in connection with the appointment. The
          case manager for this case is Paige Ballard, and the following information is
          provided for your use (click on an underlined document to access the document
          on the court's web site, www.ca4.uscourts.gov).

          Initial Forms: Following forms must be filed within 14 days.
             • Appearance of Counsel (must be registered for electronic case filing)
             • Docketing Statement (required for appointments at the beginning of the
                 appeal)
             • Transcript Order Form (order any necessary transcript)


          Appointment and Case Information: Time and expense records must be
          maintained in accordance with the CJA Payment Memorandum to permit
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          payment at the end of the case.

          All case filings must be made using the court's Electronic Case Filing system
          (CM/ECF). Counsel not yet registered for electronic filing should proceed to
          the court's web site to register as an ECF filer. See Required Steps for
          Registration as an ECF Filer.

          Copies of any documents filed on appeal to date are accessible on the
          court's docket. Documents filed by a party while proceeding pro se will not
          be considered by the court unless renewed by counsel.

          Record: Counsel should use a fee exempt account for all PACER access in
          CJA cases. If you do not have a fee exempt account, email
          pacer@psc.uscourts.gov and list the courts in which you serve as CJA counsel.
          PACER will respond to you with an email updating your PACER credentials to
          include access as CJA counsel and instructing you on how to use the updated
          credentials. The district court’s PACER docket and electronic documents are
          accessible through a link to the district court docket from the appellate docket.
          The "Create Appendix" option enables counsel to combine multiple documents
          into one PDF record for printing or saving.

          Presentence Report, Statement of Reasons, Transcripts: Since the
          presentence report and statement of reasons are sealed documents and the
          transcript is restricted from public access during the redaction period, counsel
          may need to make special arrangements to obtain these documents. If record
          items are not available from former counsel or the district court, new counsel
          should contact Marcy Beall, the Fourth Circuit Appointments Deputy, at 804-
          916-2739, for assistance in obtaining these items. For assistance in ordering
          preparation of transcript through the district court's eVoucher system, new
          counsel should contact District eVoucher Contacts for CJA Authorization
          and Payment

          Interpreter and Translator Services: If interpreter or translator services are
          needed on appeal, counsel may obtain contact information from the district
          court or through the online databases maintained by the National Association
          of Judiciary Interpreters and Translators and the American Translators
          Association. Current federal court interpreter rates and classifications are
          available at this link: Federal Court Interpreters | United States Courts
          (uscourts.gov). Counsel may use Language Skilled, Professionally Qualified,
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          or Federally Certified Court Interpreters for services provided on appeal.
          Translator services are reimbursed at a maximum rate of $180 per 1,000 words.
          If the total cost of interpreter and translator services on appeal will exceed
          $900, counsel must submit a CJA Authorization Request-Interpreter and
          Translator Services form.

        CONTACT INFORMATION:

        Former counsel:      Charles Lawrence Waechter
                             Direct: 410-242-4745
                             5300 East Drive
                             Baltimore, MD 21227-0000
        Defendant:           Samuel Sweeley
                             #57839-037
                             Non-public home address
                             Baltimore, MD

        Marcy E. Beall, Deputy Clerk
        804-916-2739

        cc:   Defendant
              CJA Contacts MDD
              Catherine M. Stavlas
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                   SEALED & CONFIDENTIAL MATERIALS
        Internet Availability of Docket & Documents

        Fourth Circuit case dockets and documents are available on the Internet via the
        Judiciary's PACER system (Public Access to Court Electronic Records). The
        Fourth Circuit docket is available on the Internet even if the district court docket
        was sealed. If a party's name was sealed in the district court, it should be replaced
        by "Under Seal" or a pseudonym on appeal.

        Due to the electronic availability of court documents, the federal rules prohibit
        including certain personal data identifiers in court filings. In addition, parties
        should not include any data in their filings that they would not want on the
        Internet. Counsel should advise their clients on this subject so that an informed
        decision can be made. Responsibility rests with counsel and the parties, not with
        the clerk.

        Documents filed by the parties in immigration, social security, and railroad
        retirement board cases are not accessible over the Internet to the public. Public
        Internet access is limited to the court's docket, orders, and opinions in these cases.
        Parties wishing to prevent their full names from appearing in court documents,
        including opinions available on the Internet, may file a motion to redact their name
        to use only their first name and last initial rather than their full name.

        Federal Rules of Procedure

        The federal rules of procedure require filers to redact any of the following personal
        data identifiers (PDIs) if included in court filings: (1) social security and tax ID
        numbers must be limited to last four digits; (2) minor children must be identified
        by their initials only; (3) dates of birth must show the year only; (4) financial
        account numbers must be limited to the last four digits only; and (5) home
        addresses in criminal cases must be limited to city and state only. The federal rules
        establish limited exceptions to these redaction requirements. See Fed. R. App. P.
        25(a)(5); Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037

        Judicial Conference Privacy Policy

        In addition, the judiciary's regulation on Privacy Policy for Electronic Case Files
        prohibits filers from including any of the following criminal documents in the
        public file: (1) unexecuted summonses or warrants; (2) bail or presentence reports;
        (3) statement of reasons in judgment of conviction; (4) juvenile records; (5)
        identifying information about jurors or potential jurors; (6) CJA financial
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        affidavits; (7) ex parte requests to authorize CJA services and (8) any sealed
        documents, such as motions for downward departure for substantial assistance,
        plea agreements indicating cooperation, or victim statements. Any reference to
        substantial assistance or cooperation with the government in criminal proceedings
        should be sealed in the parties' briefs.

        Local Rule 25(c)

        Local Rule 25(c) limits the sealing of documents by requiring that sealed record
        material be separated from unsealed material and placed in a sealed volume of the
        appendix and by requiring the filing of both sealed, highlighted versions and
        public, redacted versions of briefs and other documents.

        Since the ECF events for sealed filings make the documents accessible only to the
        court, counsel must serve sealed documents on the other parties outside ECF.

        Sealed Volume of Appendix

        If sealed record material needs to be included in the appendix, it must be placed in
        a separate, sealed volume of the appendix and filed with a certificate of
        confidentiality. In consolidated criminal cases in which presentence reports are
        being filed for multiple defendants, each presentence report must be placed in a
        separate, sealed volume served only on Government counsel and counsel for the
        defendant who is the subject of the report.

           •   Use ECF event-SEALED JOINT APPENDIX (court access) and
               SEALED SUPPLEMENTAL APPENDIX (court access) to file sealed
               electronic appendix volume(s). Cover of sealed appendix volume must be
               marked SEALED, and paper copies must be placed in envelopes marked
               SEALED. Sealed volume must be served on other parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed appendix filed with the court.
           •   Use ECF event-JOINT APPENDIX and SUPPLEMENTAL APPENDIX
               to file public electronic appendix volumes(s).

        Sealed Version of Brief

        If sealed material needs to be referenced in a brief, counsel must file both a sealed,
        highlighted version of the brief and a public, redacted version of the brief, as
        well as a certificate of confidentiality.
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           •   Use ECF event-SEALED BRIEF (court access)(formal briefs under seal)
               to file sealed electronic version of brief in which sealed material has been
               highlighted. Cover of sealed brief must be marked SEALED, and paper
               copies must be placed in envelopes marked SEALED. Sealed version must
               be served on other parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed brief filed with the court.
           •   Use ECF event-BRIEF (formal briefs not under seal) to file public
               electronic version of brief from which sealed material has been redacted.

        Sealed Version of Motions and Other Documents

        If sealed material needs to be referenced in a motion or other document, counsel
        must file both a sealed, highlighted version and a public, redacted version, as
        well as a certificate of confidentiality.

           •   Use ECF event-SEALED DOCUMENT to file sealed electronic version of
               document in which sealed material has been highlighted. First page of
               document must be marked SEALED. Sealed version must be served on other
               parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material.
           •   Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER)
               to file public electronic version of document from which sealed material has
               been redacted.

        Motions to Seal

        A certificate of confidentiality may be used to request sealing of information
        protected by the Privacy Policy for Electronic Case Files, or by statute, rule,
        regulation, or order. To request sealing of other materials, or to request sealing of
        an entire brief or motion due to inability to create a public, redacted version,
        counsel must file a motion to seal.

        The motion to seal must appear on the public docket for five days. The motion
        must identify the document or portions thereof for which sealing is requested, the
        reasons why sealing is necessary, the reasons a less drastic alternative will not
        afford adequate protection, and the period of time for which sealing is required. If
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        it is necessary to reference sealed material in the motion, a sealed, highlighted
        version and a public, redacted version of the motion must be filed.

        Highly Sensitive Documents

        The court has adopted Standing Order 21-01 implementing procedures adopted by
        the Federal Judiciary for the filing of highly sensitive sealed documents in paper
        form, accompanied by a certificate (for material sealed by the district court or other
        tribunal) or motion (for requests to file material under seal in the first instance).

        Forms: Certificate of Confidentiality & Certificate for Highly Sensitive Document
        Protection

        Instructions: How do I redact items from pleadings? (Marking out text in a word
        processing document using a highlighter or box tool does not remove sensitive data
        from the document.)
